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                       Exhibit C

                    Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                      ORDER AUTHORIZING DEBTORS TO
              RETAIN ALVAREZ & MARSAL NORTH AMERICA, LLC AS
          FINANCIAL ADVISORS TO DEBTORS AND DEBTORS IN POSSESSION
         PURSUANT TO SECTIONS 327(A) AND 328 OF THE BANKRUPTCY CODE


             Upon the application (the “Application”) 2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), pursuant to sections 105(a) and 363(b) of title 11 of the

United States Code (the “Bankruptcy Code”), authorizing the Debtors to retain Alvarez & Marsal

North America, LLC, together with employees of its affiliates (all of which are wholly-owned by

its parent company and employees), its wholly owned subsidiaries, and independent contractors

(collectively, “A&M”) as financial advisors, effective as of the date of the filing of these chapter 11

cases (the “Petition Date”) on the terms set forth in the engagement letter (the “Engagement

Letter”) attached to the Application as Exhibit A, all as more fully set forth in the Application; and

upon the Declaration of Brian Whittman in support of the Application attached thereto as

Exhibit B; and the Court being satisfied that A&M is a “disinterested person” as such term is

defined under section 101(14) of the Bankruptcy Code; and the district court having jurisdiction


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.

2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Application.
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under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Application in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Application is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Application and opportunity for a hearing on the

Application were appropriate and no other notice need be provided; and this Court having

reviewed the Application and having heard the statements in support of the relief requested therein

at a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Application and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted to the extent set forth herein.

       2.      Capitalized terms not otherwise defined herein shall have the meanings ascribed to

such terms in the Application.

       3.      Pursuant to sections 327(a) and 328 of the Bankruptcy Code, the Debtors are hereby

authorized to retain A&M as financial advisors to the Debtors, effective as of the Petition Date on

the terms set forth in the Engagement Letter.




                                                  2
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       4.      The terms of the Engagement Letter, including without limitation, the

compensation provisions and the indemnification provisions, as modified by the Application, are

reasonable terms and conditions of employment and are hereby approved.

       5.      To the extent there is inconsistency between the terms of the Engagement Letter,

the Application, and this Order, the terms of this Order shall govern.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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